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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
       v.                                     §       Case No. 4:22-cr-612
                                              §
CONSTANTINESCU, et al.                        §       The Honorable Andrew S. Hanen
                                              §
       Defendants.                            §



   United States’ Response in Opposition to Defendant’s Motion in Limine ECF No. 535


       The United States, by and through undersigned counsel, responds to Defendant

Rybarczyk’s Motion in limine to exclude Government Exhibit (“GX”) 1. (ECF No. 535.) GX 1 is

a summary exhibit of over forty images Defendants themselves posted on the internet that were

contained in the case file produced in discovery in this matter. (See Ex. 1 (GX 1).) Evidence of

how Defendants promoted themselves on social media is highly probative of multiple issues in

this case and must be submitted to the jury. Defendants held themselves out to the public as

successful stock traders to build their social media followings in furtherance of the charged crimes.

Defendants’ social media activity is also probative of other relevant issues, including the fact that

Defendants promoted themselves together on social media in furtherance of their securities fraud

scheme and conspiracy.

       Such images are so pervasive among Defendants’ social media accounts that, as individual

posts and exhibits, they are voluminous. To assist the jury, the United States has compiled into

GX 1 a representative sample of such images that are probative of themes at issue. The exhibit will

be helpful and convenient for the jury. The Court should admit GX 1 as a proper Rule 1006

summary of voluminous evidence highly probative of issues of consequence in determining the
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action. See Fed. R. Evid. 401, 402, 1006.

         Defendant takes issue with GX 1 on essentially three grounds: (1) arguing GX 1 should not

be admitted as a Rule 1006 summary of voluminous evidence; (2) disputing the relevance of the

underlying content; and, (3) arguing that unfair prejudice substantially outweighs the probative

value. (See generally Mot.) The Court should reject Defendant’s arguments and admit the exhibit.

   I.       The exhibit is a proper Rule 1006 summary of voluminous evidence.

         Under Rule 1006, a “proponent may use a summary, chart, or calculation to prove the

content of voluminous writings, records, or photographs that cannot be conveniently examined in

court.” Fed. R. Evid. 1006. The Fifth Circuit has affirmed the admission of Rule 1006 summary

charts where the documents summarized in the charts were voluminous and the Rule 1006 exhibit

facilitated convenient review in court. United States v. Tannehill, 49 F.3d 1049, 1056 (5th Cir.

1995).

         Each of the over forty internet posts compiled into GX 1 is admissible on its own because

it is probative of facts of consequence for the jury’s determination. Every post is attributable to a

Defendant and was part of the case file produced to Defendants in discovery.

         In order to facilitate the jury’s review of this voluminous material, the United States

compiled these over forty images into GX 1. The only true difference between admitting each post

as a separate exhibit or admitting the single exhibit of GX 1 is the ease with which the jury can

review the content of these voluminous materials. See Fed. R. Evid. 1006. The United States can

offer each image as a separate exhibit, but that would be voluminous and unduly inconvenient for

the jury. Thus, the Court should admit GX 1 as a proper Rule 1006 summary.




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    II.      The evidence is highly relevant to proving the charged crimes and any prejudice
             is neither unfair nor does it substantially outweigh the significant probative value.

          GX 1 compiles evidence highly probative of numerous facts at issue in this case. For

example, the images within the exhibit show how Defendants held themselves out to their

followers and prospective followers on social media during and in furtherance of the charged

scheme and conspiracy. Specifically, Defendants held themselves out as successful stock traders,

to project images of success and wealth in order to grow their social media followings in

furtherance of the charged crimes. Defendants also contest that they were in a conspiracy. Their

social media activity together in furtherance of the charged crimes directly undercuts those

contentions. (See generally GX 1.)

          The Fifth Circuit often permits the use of summary charts “in conspiracy cases to aid the

jury in putting the myriad of complex and intricate pieces of testimony and documentary evidence

comprising the puzzle together.” United States v. Taylor, 210 F.3d 311, 315 (5th Cir. 2000); see

also United States v. Winn, 948 F.2d 145, 157 (5th Cir. 1991) (“We cannot rationally expect an

average jury to compile summaries and to create sophisticated flow charts to reveal patterns that

provide important inferences about the defendants’ guilt.”). Thus, the fact that GX 1 presents

evidence of Defendants associating in furtherance of the conspiracy, as well as social media themes

they used together and individually to further that conspiracy, actually supports the admission of

the exhibit, given that it will be helpful to the jury in its fact-finding task. See id.

          Even if the exhibit includes assumptions beyond those Defendants themselves intended to

promote with their posts, which the United States does not concede, the Fifth Circuit routinely

affirms the use of summary exhibits that include assumptions by the United States, as long as the

assumptions are supported by other evidence, United States v. Diez, 515 F.2d 892, 905 (5th Cir.

1975), and the Court explains to the jurors that they are the ultimate finders of fact, United States


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v. Andrew, 606 F.2d 549, 550 (5th Cir. 1979). See, e.g., United States v. Spalding, 894 F.3d 173,

186 (5th Cir. 2018) (“The presence of an inference in a summary chart is not per se prejudicial.

No harm lies when the exhibit does not suggest any conclusions unsupported by the evidence, the

district court properly instructs the jury, and the defendant conducts a full cross-examination of

the charts’ author.” (quotations and citation omitted)); United States v. Buck, 324 F.3d 786, 791

(5th Cir. 2003) (“[T]he essential requirement is not that the charts be free from reliance on any

assumptions, but rather that these assumptions be supported by evidence in the record.” (quotations

and citation omitted)); United States v. Means, 695 F.2d 811, 817 (5th Cir. 1983) (same).

       Defendant does not address these highly relevant aspects of GX 1 and instead suggests the

only purpose for the exhibit is an appeal to class prejudice. That is incorrect. The law Defendant

cites for the proposition concerns appeals to class prejudice irrelevant from the issues at trial.

Indeed, Defendant cites a case that makes clear, “evidence of an individual’s lavish spending

habits, without a connection to an individual’s participation in criminal activity, is irrelevant.”

United States v. Holmes, No. 5:18-cr-00258-EJD-1, 2021 WL 2044470, at *4 (N.D. Cal. May 22,

2021) (emphasis added); (Mot. at 3). The United States agrees. But Defendant glosses over the

central distinction this case presents. Here, there is a direct connection between Defendants’

personal promotion of material success and “an individual’s participation in criminal activity.” Id.

       The images in GX 1 are highly probative of and directly connected to the scheme and

conspiracy, as shown by significant other evidence in this case. Defendant Rybarczyk’s own social

media posts show that he sought to grow his following by promising wealth and financial success

to his followers who purchased the at-issue securities. For example, on December 29, 2021,

Defendant Rybarczyk tweeted:

               I’m trying to hit 777 millionaire traders 2022. I’m gonna make it
               happen. It’s not my goal to only make me prosper. I want all of you


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               to prosper. I’m gonna make each and every one of you make it. The
               market is so universal. You just adapt to current conditions. Let’s go
               crazy.

(Ex. 2 (GX 194).) The theme repeats throughout Defendant Rybarczyk’s posts. (See, e.g., Ex. 3

(GX 196 (“My followers are gonna bank huge 2022. #GAMETIME”)); Ex. 4 (GX 197 (“Trust me.

I lost a 80%+ in the beginning. Went from $2500 to 750k first year of success”)); Ex. 5 (GX 189

(“I just want the team successful. We are one big family”)).) The theme from these posts is clear:

follow me and purchase the securities that I reference; if you do, you, too, can enjoy the wealth

and freedom my stock picks provide. Defendant sold a lie.

       Defendant Rybarczyk is not alone in this effort to promote the scheme and conspiracy in

this way. Rather, it is a modus operandi shared with his co-Defendants. (See, e.g., Ex. 6 (GX 176.D

(Def. Constantinescu: “So, I’m just cruising the streets . . . um, making money. I’m up, like,

$108,000, so if you’re not cruising on a fat bike, not making $100,000. I don’t know what the f*ck

you’re doing with your life. Evaluate it. Change some things around. . . . you can do it, too. Just

get a bike. Just start making $100,000 a day. All right, guys. Have a great day. . . . I’ll see you

guys on Twitter, pumping.”)).)

       Defendant Rybarczyk’s posts also show his efforts focused specifically on growing his and

his co-Defendants’ follower counts in furtherance of the scheme and conspiracy. (See, e.g., Ex. 7

(GX 184 (“CONGRATS ON 150,000 FOLLOWERS @MrZackMorris WELL DESERVED

BRO”)); Ex. 8 (GX 185 (“9k followers away from the 100k breakout. Go ahead and give

@Hugh_Henne a follow.”)); Ex. 9 (GX 186 (“Congrats #ATLAS on reaching 100,000 members!!!

@PJ_Matlock @MrZackMorris . . . love you all”); Ex. 10 (GX 187 (“Congrats my man

@MrZackMorris on 350k followers. Well deserved, one big family”)); Ex. 11 (GX 190 (“Once

I’m at 300,000 followers. I’m doing a mega giveaway. Thank you all for the support and trust.”)).)

       Next, this highly probative evidence is not substantially outweighed by any unfair

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prejudice. See Fed. R. Evid. 403. The probative value of these social media posts is not that

Defendants generated wealth, as Defendant suggests. (Mot. at 5). Rather, the evidence shows how

Defendants held that ill-gotten wealth out as seemingly legitimate fruits of their stock trading to

make others follow them and propagate the fraudulent scheme in the belief that they, too, could

“legitimately” achieve such wealth under Defendants’ guidance. The Court should have

confidence that the United States will not make inappropriate arguments from Defendants’

displays of wealth. Any tangential prejudice is not substantially greater than the probative value

and even its unfairness is a matter of dispute.

       Defendant Rybarczyk contends that the pictures of himself are also prejudicial because

they are included with other unrelated pictures of his co-Defendants and co-conspirators. (Mot. at

5.) The Court should reject this contention for at least three reasons.

       First, there is no true danger of confusion among Defendants given that the page with

Defendant Rybarczyk’s pictures is captioned “John Rybarczyk” and includes his Twitter and

Discord handles. (See Ex. 1 at 4.) Defendant will also be able to cross-examine the exhibit’s

sponsor to clear up any lingering confusion. See, e.g., United States v. Armstrong, 619 F.3d 380,

384 (5th Cir. 2010) (“The witness who prepared the exhibit clarified in her testimony, on direct

and cross-examination, that [defendant] had a connection only to the properties that had a line

drawn to her picture. Thus, there was no reason for the jury to believe that she was connected to

the other properties as well.”).

       Second, the pictures of Defendant Rybarczyk are relevant to themes displayed in other

photos compiled in the voluminous exhibit. Defendant Rybarczyk argues without basis in fact that

the pictures included with him in them are not probative of the charged conspiracy. That is wrong.

From left to right, picture one is a social media post showing Defendant Rybarczyk and Defendant



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Knight, who the United States expects will testify that he was, in fact, in a criminal securities fraud

conspiracy with Defendant Rybarczyk. (See Ex. 1 at 4.) The picture provides further evidence of

their association, is probative of the conspiracy, and the United States expects will corroborate

Defendant Knight’s testimony.

       Picture two is a post from social media depicting Defendant Rybarczyk wearing a “Pennies:

Going In Raw” hat. (See id.) That is the podcast run by Defendants Knight and Hennessey that the

evidence and testimony will show was used in furtherance of the conspiracy. Defendant Rybarczyk

is actively promoting the podcast and, thus, the conspiracy in that image. (See id.) There are slides

later in the exhibit that provide more information and posts about “Pennies: Going In Raw,” further

indicating the relevance of Defendant Rybarczyk’s promotion, which will be connected up with

other evidence and testimony. (See id. at 14–19.)

       Picture three is a post by Defendant Rybarczyk with a Lamborghini, a luxury sports car.

(See id. at 4.) It was a picture he used as his main “profile picture” on social media for a period

during the conspiracy and is probative of the theme described and demonstrated in the other

evidence: follow me and my (fraudulent) stock tips and you, too, will be successful.

       And the summary exhibit shows that Defendant Rybarczyk did not do this promotion on

his own. Rather, it was part of the modus operandi of the conspiracy for Defendants to hold

themselves out as wealthy, successful stock traders in order to build their social media followings

and further the scheme and conspiracy. Other Defendants have similar pictures boasting their cars

and other luxury items. (See id. at 2–6, 10–11.) The evidence shows in their own words both that

their followers were important to them and that they tried to build each others’ follower counts.

Thus, this evidence together is highly probative of the conspiracy, particularly considering the

additional evidence and testimony expected at trial.



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          Defendant’s arguments to the contrary go to the weight, not the admissibility of the

evidence. See, e.g., United States v. Jennings, 724 F.2d 436, 442 (5th Cir. 1984) (finding

permissible summary charts premised on government’s assumptions where supporting evidence

presented and jury instructed that they determine what weight the evidence should be given).

          Third, any lingering prejudice is not substantially more prejudicial than the high probative

value of the exhibit. There will be substantial corroborating evidence of the conspiracy in different

forms than mere social media photographs, including trade data, audio recordings, and testimony

from pleaded co-conspirators. At the very least, the Court should conditionally admit GX 1, subject

to being connected later with other evidence and testimony establishing relevant foundational

points.

                                              Conclusion

          The Court should deny the Motion and admit the exhibit because it compiles voluminous

evidence probative of numerous issues of consequence so the jury may conveniently review that

evidence at trial.




Dated: February 27, 2024                               Respectfully submitted,


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                                     Certificate of Service

        I hereby certify that on February 27, 2024, I will cause the foregoing motions to be

electronically filed with the Clerk of the Court using the CM/ECF system, which will provide

copies to counsel for all parties.



                                            /s/ John J. Liolos
                                            John J. Liolos, Trial Attorney
                                            U.S. Department of Justice
                                            Criminal Division, Fraud Section




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